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FoR THE wEsTERN DIsTRIcT oF TENNESSEE QEH§Y_Z
WESTERN DIVISION

 

 

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ALMA ROBINSON, 1425 r1 EN‘ , ulp '

Plaintiff,

vs. No. 04-2333 D/V

FIRST HORIZON EQUITY LENDING,

v\\_#'~../~\_r\\.¢-..¢\_¢v'~.r

Defendant.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFEN'DANT’S
MOTION TO STAY PENDING PLAINTIFF'S FULL COMPLIANCE
WITH FEBRUARY 9, 2005 ORDER

 

Before the court is the March 31, 2005 motion of the
defendant, First Horizon Equity Lending (“First Horizon”),
requesting that the court enter an order staying the above-styled
civil action pending the plaintiff's full compliance with the
court's February 9, 2005 order. The motion was referred to the
United States Magistrate Judge for determination. For the
following reasons, the motion is granted in part and denied in
part.

On February 9, 2005, the court ordered the plaintiff, Alma
Robinson, to serve her initial disclosures and respond to First
Horizon’s first set of interrogatories and first request for
production of documents. The court also ordered Robinson to pay

the defendant's attorney fees incurred in connection with the

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filing of the motion to compel. Robinson served First Horizon
with her initial disclosures and discovery responses on February
18, 2005 but has not paid the defendant’s attorney's fees.

On March 3l, 2005, First Horizon filed a second motion to
compel claiming that Robinson’s initial disclosures and discovery
responses were deficient. The court has entered a separate order
on this date directing Robinson to respond fully to First Horizon's
request within eleven (ll) days from the date of entry of the
order. The court has also entered another order this day
instructing Robinson to pay $1,075.00 in attorney's fees within
thirty (30) days.

First Horizon now asks that the proceedings in this case be
stayed until Robinson has fully complied with the court's February
9, 2005 order and has paid the attorney's fees the court ordered
her to pay. Without a stay of the proceedings, First Horizon
contends that it will be unable to complete the discovery necessary
to prepare dispositive motions by the May 31, 2005 deadline.

After reviewing First Horizon's request, the court has
determined that the proper course to take in this case is to extend
the discovery deadline and the deadline for filing dispositive
motions rather than stay the entire proceeding. This will allow
discovery to proceed and. will provide First Horizon the time

necessary to prepare dispositive motions once it has received

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Robinson’s supplemental disclosures and discovery responses.

Accordingly, First Horizon's motion to stay is denied. The
deadline for completing all discovery is extended until May 31,
2005, and the deadline for filing dispositive motions is set for
June 30, 2005. All other deadlines established in the scheduling
order remain the same at this time.

IT IS SO ORDERED this 2nd day of May, 2005,

K(llm I. Q.M/"

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

